        Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 1 of 12


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

LUZ MELENDEZ COLON, et al.,
     Plaintiffs,

       v.                                             Civil No. 16-2853 (BJM)

DR. JULIO ROSADO SANCHEZ, et al.,
      Defendants.


                                    OPINION AND ORDER

       Following a trial on the merits, the jury in this case returned a verdict against defendant Dr.

Julio Rosado Sanchez (“Dr. Rosado”) on plaintiff Luz Melendez Colon (“Melendez”) and her son

Milton Ramos Melendez’s (“Ramos”) medical malpractice claims brought under Article 1802 and

Article 1803 of the Civil Code of Puerto Rico. 31 L.P.R.A. §§ 5141, 5142. In accordance with the

jury’s verdict, judgment was entered in favor of Melendez in the amount of $204,000.00 and in

favor of Ramos in the amount of $46,000.00 for a total judgment of $250,000.00. Dkt. 175. Before

the court are Dr. Rosado’s Motion for Judgment as a Matter of Law and/or Alternative Motion for

a New Trial and/or for Remittitur, Dkt. 183, and Melendez and Ramos’s response, Dkt. 187. Dr.

Rosado replied. Dkt. 190.

       Because I conclude that a reasonable jury could not have found that this case was timely

filed, Defendants’ Motion for Judgment as a Matter of Law pursuant to Federal Rule of Civil

Procedure 50 is GRANTED.

                                        BACKGROUND

       The following facts are related in the light most favorable to the verdict.

       Melendez is a seventy-nine-year-old retired nurse who is now in the early stages of

Alzheimer’s. At some point in 2013, Melendez began to suffer from severe back pain. On August

20, 2013, Melendez and her husband visited Dr. Rosado’s office. Melendez continued seeing Dr.

Rosado, and on February 15, 2014, she and Dr. Rosado discussed a planned spinal surgery that Dr.

Rosado would perform to relieve the pain in Melendez’s back. He performed the surgery on

February 25, 2014, but Melendez continued to experience pain. Herminio Ramos, Melendez’s
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 2 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                  2

other son, testified that Melendez’s pain steadily increased to the point that she would “scream of

pain.” Dkt. 183-1 at 8:25 (Herminio Ramos trial transcript). On March 25, 2014, Dr. Rosado

operated on Melendez’s spine a second time. Melendez continued to experience pain. When

Melendez was moved to a rehabilitation center in April, her pain remained at a level that caused

her to scream and seemed to disorient her. Dkt. 183-1 at 11:1–18 (Herminio Ramos trial transcript).

She suffered complications and was hospitalized between June 10 and June 19, 2014, during which

time Dr. Rosado evaluated her condition. He recommended a third surgery. Herminio Ramos

testified that the family did not want Dr. Rosado to operate on Melendez a third time. He testified,

“it was decided, the family decided that she was not going to be treated by the doctor anymore.

First because we had lost trust in the doctor and second, after two operations, her status was

contrary to what it should have been, to what the outcome should have been.” Dkt. 183-1 at 52:21–

53:1 (Herminio Ramos trial transcript). The family came to this decision at some point during her

hospitalization. By June 24, 2014, the family decided that Melendez would seek further treatment

in Atlanta, where Plaintiff Ramos lives. Ramos told Dr. Rosado that he would need Melendez’s

medical records from Dr. Rosado’s office in order to transfer his mother to Atlanta.

         Ramos sent Dr. Rosado several text message requests for the medical record in July, which

referred to his ongoing efforts to secure the records. Ramos stated that the new doctor in Atlanta

would need the records, but Dr. Rosado’s secretary estimated it could take a year to produce them.

Ex. 2B; Ex. 5B; Ex. 6B. On July 11, 2014, Herminio Ramos and Melendez filed a complaint

against Dr. Rosado with the Medical Disciplinary and Licensing Board and made a request for the

medical records. On August 8, 2014, they presented a complaint at the Court of First Instance in

San Juan, Puerto Rico. Ex. 7. The judge ordered a hearing, and Dr. Rosado’s attorney brought the

medical record to the hearing and gave it to Herminio Ramos on August 22, 2014. Neither

Melendez nor her family made any extrajudicial claim against Dr. Rosado.

         Ramos moved his mother to Atlanta the following month and found medical care for her

at the Emory Spine Center. A doctor referred them to neurosurgeon Dr. Daniel Refai, and they

were able to make an appointment for surgery to be performed in November 2014. Because of
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 3 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                    3

Melendez’s health, they had to get preliminary clearances and missed the November appointment.

Melendez ultimately received her third surgery, this time from Dr. Refai, on December 18, 2014.

Melendez began to recover after the surgery, and she no longer felt pain so severe that she could

not sleep. Dkt. 183-3 at 26:13–21 (Melendez trial transcript). Within six weeks, she could walk

almost one mile after having not been able to walk. Dkt. 178 at 11:15–18 (Dr. Refai trial transcript).

At her last post-operative appointment in November 2015, Plaintiffs and their family asked Dr.

Refai to review Melendez’s medical records, which he had not needed to perform his operation.

Dr. Refai received English translations of the records in mid-2016. He wrote a report summarizing

his findings dated September 21, 2016. The report criticized a number of decisions Dr. Rosado had

made in the course of the two spinal surgeries he performed on Melendez.

         Melendez and Ramos filed suit against Dr. Rosado for medical malpractice on October 19,

2016. The parties went to trial in March 2019. At the close of Plaintiffs’ case, Dr. Rosado moved

for judgment as a matter of law. The motion was taken under advisement at that time. Dr. Rosado

renewed the motion after the close of evidence, and the motion was held in abeyance. The jury

returned a verdict finding Dr. Rosado liable for medical malpractice and not liable for a breach of

informed consent laws. The jury awarded Melendez $204,000 and Ramos $46,000 for a total of

$250,000. Pursuant to the parties’ stipulation, defendant SIMED is liable for $100,000 of the total

amount. Dkt. 175. The jury, as expressed in a verdict form, made a specific finding that plaintiffs

lacked “the necessary knowledge to file suit at any time before October 19, 2015, or the plaintiff

could have had this necessary knowledge before that date if they exercised proper diligence.” Dkt.

158 at 1. Dr. Rosado now moves for judgment notwithstanding the verdict on the medical

malpractice claim. Dkt. 183.

                                                LEGAL STANDARD

         Pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, if a party has been fully

heard on an issue during a jury trial and a reasonable jury would not have a legally sufficient

evidentiary basis to find for the party on that issue, an opposing party may file a motion for

judgment as a matter of law at any time before the case is submitted to the jury. Fed. R. Civ. P.
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 4 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                     4

50(a). Rule 50(b) enables a party to renew that motion for a judgment as a matter of law “[n]o later

than 28 days after the entry of judgment—or if the motion addresses a jury issue not decided by a

verdict, no later than 28 days after the jury was discharged.” Fed. R. Civ. P. 50(b).

         “In ruling on the renewed motion, the court may: (1) allow judgment on the verdict, if the

jury returned a verdict; (2) order a new trial; or (3) direct the entry of judgment as a matter of law.”

Id. The party renewing a motion for judgement as a matter of law pursuant to Rule 50(b) must

“have moved for judgment as a matter of law at the close of all evidence.” Ginorio v. Contreras,

Civil No. 03-2317, 2008 WL 11424136, at *2 (D.P.R. June 13, 2008), aff'd sub nom. Guillemard-

Ginorio v. Contreras-Gomez, 585 F.3d 508 (1st Cir. 2009) (citing Keisling v. SER-Jobs for

Progress, Inc., 19 F.3d 755, 758 (1st Cir. 1994)). “In addition, this motion must include every claim

upon which the party bases its request for judgment as a matter of law. Failure to do so is a ‘fatal

omission.’” Ginorio, 2008 WL 11424136 at *2 (citing Sanchez v. Puerto Rico Oil Company, 37

F.3d 712, 723 (1st Cir. 1994)). The party may also move for a new trial under Rule 59 or remittitur

in the alternative.

         “[A] jury’s verdict must be upheld unless the facts and inferences, viewed in the light most

favorable to the verdict, point so strongly and overwhelmingly in favor of the movant that a

reasonable jury could not have [returned the verdict].” Astro-Med, Inc. v. Nihon Kohden Am., Inc.,

591 F.3d 1, 13 (1st Cir. 2009) (quotation marks omitted) (citing Borges Colon v. Roman-Abreu,

438 F.3d 1, 14 (1st Cir. 2006)). The court must affirm the jury’s verdict “‘unless the evidence,

together with all reasonable inferences in favor of the verdict, could lead a reasonable person to

only one conclusion, namely, that the moving party was entitled to judgment.’” Id. The court

should not evaluate witness credibility or the weight of the evidence; it must view the facts in the

light most favorable to the verdict and defer to the jury’s determination of any factual issues.

Ciolino v. Gikas, 861 F.3d 296, 299 (1st Cir. 2017); Long v. Fairbank Reconstruction Corp., 701

F.3d 1, 4 (1st Cir. 2012).
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 5 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                      5

                                                    DISCUSSION

         “[T]he principle of the statute of limitation should be seen objectively, since through it ‘the

stability of property and certainty of other rights are guaranteed.’” Ortiz v. Municipio de Orocovis,

113 D.P.R. 484, 487–88, 13 P.R. Offic. Trans. 619, 622 (P.R. 1982) (quoting Castán Tobeñas,

Derecho Civil Español, Común y Foral, 10th ed., 1963, T. 1, Vol. 2, p. 834). The statute of

limitations for a medical malpractice claim is one year. 31 L.P.R.A. § 5298. A personal injury claim

accrues to an injured person and the statute of limitations begins when she has “both notice of her

injury and knowledge of the likely identify of the tortfeasor.” Espada v. Lugo, 312 F.3d 1, 3 (1st

Cir. 2002). This includes “knowledge of . . . a causal link between the wrong and some harm.”

Villarini-García v. Hospital del Maestro, 8 F.3d 81, 84 (1st Cir. 1993). The plaintiff does not need

actual knowledge, however, “where, by due diligence, such knowledge would likely have been

acquired.” Id. Dr. Rosado argues for judgment notwithstanding the verdict, on the grounds that (1)

Melendez and Ramos’s claims were barred by the statute of limitations; (2) Melendez and Ramos

were not diligent in pursuing their claims; and (3) Melendez and Ramos did not adequately meet

their burden to prove medical malpractice. Dkt. 183 at 2.

         Knowledge is the key to the statute of limitations. Because Plaintiffs filed suit against Dr.

Rosado more than one year after the injury occurred, they bear the burden of proving they lacked

the requisite knowledge that would have begun the statute of limitations more than a year before

filing this claim. Alejandro-Ortiz v. P.R. Elec. Power Auth., 756 F.3d 23, 27 (1st Cir. 2014) (citing

Rivera Encarnación v. Estado Libre Asociado de Puerto Rico, 113 D.P.R. 383, 13 P.R. Offic. Trans.

498, 501–02 (P.R. 1982)). In this case, knowledge may be actual or constructive. A plaintiff has

actual knowledge when she is “aware of all the necessary facts and the existence of a likelihood

of a legal cause of action.” Rodriguez-Suris v. Montesinos, 123 F.3d 10, 14 (1st Cir. 1997).

Constructive knowledge, often referred to as “deemed knowledge” in medical malpractice cases,

inquires whether a reasonable person in the same situation as the plaintiff would have sufficient

awareness of the necessary facts and a cause of action, given the same level of notice and the

exercise of reasonable care. Id. A third aspect of knowledge, where the tortfeasor makes assurances
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 6 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                     6

sufficient to convince the plaintiff not to file suit, does not apply in this case. Dkt. 183 at 16; see

also Alejandro-Ortiz, 756 F.3d at 27 (explaining that a tortfeasor’s assurances to, representations

to, or concealment of necessary facts from the plaintiff may toll the statute of limitations).

         Plaintiffs filed this case on October 19, 2016. The question, then, is whether a reasonable

jury could have concluded that plaintiffs, exercising the required due diligence, did not acquire the

requisite knowledge until October 29, 2015.

         Plaintiffs answer this question in the affirmative. Plaintiffs contend that they lacked

knowledge of the necessary facts and notice of the legal claim until September 21, 2016, the date

they received Dr. Refai’s report. Dkt. 187 at 7. Plaintiffs cite Espada for support. In Espada, the

plaintiff underwent a mastectomy and subsequently suffered from lymphedema. Espada, 312 F.3d

at 4. Lymphedema can be a common side effect of breast cancer surgery but in this case resulted

from the surgeon’s choice to perform a riskier, more radical surgery than necessary. Id. at 5. The

First Circuit held that the plaintiff had knowledge of the physical injury soon after her surgery, but

her claim did not accrue until years later, when a doctor informed her of the legal injury, namely

that a less risky surgery was available. Id. This knowledge of the lymphedema without notice of

the potential medical malpractice which may have caused it created a possibility that a jury could

“permissibly conclude” her complaint was not time-barred, so her claim could survive the

defendant’s Rule 50(a) motion. Id. Plaintiffs seek to emphasize the similarities between the injury

in Espada and in this case. To that end, Plaintiffs argue that Dr. Refai’s opinions on the standard

of care and Dr. Rosado’s performance concern “highly technical and complex” issues “beyond the

ken of a lay person,” so Plaintiffs “could not speculate as to Dr. Rosado’s potential liability prior

to receiving Dr. Refai’s report.” Id. at 9.

         Dr. Rosado, for his part, contends the record mandates a finding that plaintiffs had

knowledge of their claim by late June 2014. Herminio Ramos testified that around June 20, 2014,

“it was decided, the family decided that she was not going to be treated by the doctor anymore.

First because we had lost trust in the doctor and second, after two operations, her status was

contrary to what it should have been, to what the outcome should have been.” Dkt. 183-1 at 52:21–
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 7 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                        7

53:1 (Herminio Ramos trial transcript). His brother concurred; when Plaintiff Ramos spoke with

Dr. Rosado after the second surgery, Dr. Rosado suggested a medication, a third surgery, and then

rehabilitation. “My response to that was that mommy was not going back to Health South and nor

was she going to be undergoing surgery here and that I wanted to take her to Atlanta.” Dkt. 183-2

at 12:20–23 (Milton Ramos trial transcript). Defendants argue forcefully that the undisputed bad

outcomes of Dr. Rosado’s two surgeries, and Plaintiffs’ expression of lack of trust, require a finding

that Plaintiffs had the requisite knowledge. Defendants highlight that Melendez experienced

increasing pain after each of Dr. Rosado’s two surgeries, culminating in what she called a physical

and emotional “rock bottom” after the second surgery on March 24, 2014. See Dkt. 183-3 at 15:9–

10 (Melendez trial transcript). Defendants’ argument accords with the Puerto Rico Supreme

Court’s summation that “it is not the moment when the damage is caused [that] determines when

the statute of limitations begins to run but the moment when the aggrieved party becomes aware

of it.” Delgado Rodríguez v. Nazario de Ferrer, 121 D.P.R. 347, 21 P.R. Offic. Trans. 342, 357

(P.R. 1988) (citing Prieto v. Geigel, 115 D.P.R. 232, 243–47 (P.R. 1984)).

         A jury could reasonably find, as the First Circuit recognized in Espada, that pain after a

surgery, while severe, might be an accepted side effect (even though the brothers’ testimony makes

the opposite conclusion, that there was actual knowledge, at least equally reasonable). Plaintiffs

argue that they still had no reason to suspect Dr. Rosado was negligent despite no longer trusting

him to care for Melendez because Dr. Rosado had not guaranteed results and increased pain was a

potential complication of the surgeries. Dkt. 187 at 8. Herminio Ramos’s testimony implies that

Plaintiffs and their family were indeed aware that something was not right. Melendez likely knew

of her physical injury, like the plaintiff Espada, but whether she or Plaintiff Ramos knew of the

legal injury is questionable. Though it is a close call, a jury might still resolve in favor of Plaintiffs,

as of June 20, 2014. See Ciolino, 861 F.3d at 299.

         As a fallback, Defendants propose the claim accrued by August 22, 2014, when Plaintiffs

received Melendez’s medical records from Dr. Rosado after a protracted effort to obtain them. At

trial, Plaintiffs contended that the records were relevant to the statute of limitations question. See
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 8 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                     8

Dkt. 190 at 6–7. Later, however, Plaintiffs disavowed any connection between the two, claiming

they believed the records would be necessary for Dr. Refai’s treatment. Dkt. 187 at 8–9. But Dr.

Refai testified that he did not need the records or her medical history for treatment. Dkt. 178 at

49:16–50:4 (Dr. Refai trial transcript). Moreover, had Dr. Refai wanted to review the records, he

would have been unable to do so because they were in Spanish, and Plaintiffs did not translate

them until 2016. Id. at 12:10–13. Defendants point to their explicit loss of confidence in Dr. Rosado

and to Plaintiffs’ changing story on the significance of the medical records as evidence supporting

concealment of their actual knowledge of the injury and tortfeasor’s identity. Dkt. 183 at 14.

Plaintiffs state, time and again, that they did not know “of the wrong and a causal link between the

wrong and some harm.” Villarini-García, 8 F.3d at 84. Such a contention is difficult to entertain in

light of the lost confidence and decision to remove Melendez from Dr. Rosado’s care while still

pursuing a third surgery elsewhere. Plaintiffs argue that, although they knew of her increased pain,

they did not know that a tortfeasor was responsible. Dkt. 187 at 10–11; see Colon-Rodriguez v.

Colon-Martinez, 275 F. Supp. 2d 133, 134 (D.P.R. 2003) (citing Riley v. Rodriguez de Pacheco,

119 D.P.R. 762, 19 P.R. Offic. Trans. 806 (1987)). While this may be true, the passing of the months

makes it more difficult for Plaintiffs to overlook the crucial question of due diligence.

         If, as Plaintiffs claim, they lacked actual knowledge of their claim, the law requires them

to prove they also lacked constructive knowledge despite exercising due diligence to uncover that

claim. See Rodriguez-Suris, 123 F.3d at 16. “The one-year period does not begin to run until the

plaintiff possesses, or with due diligence would possess, information sufficient to permit suit.”

Villarini-García, 8 F.3d at 84. In Villarini-García, the First Circuit held that a jury could reasonably

find that the plaintiff exercised due diligence when she regularly visited specialists and doctors

over the course of four years for her back pain, which she did not realize was the result of a mole

removal surgery in which the doctor also removed muscle tissue. See id. at 83–84. Diligence, as

demonstrated in Villarini-García, constitutes “reasonable active efforts to seek answers and clarify

doubts.” Estate of Ayala v. Phillip Morris, Inc., 263 F. Supp. 2d 311, 317 (D.P.R. 2003). Simply

“waiting for answers to fall from the sky” is not enough. Id. If a plaintiff makes no effort or fails
          Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 9 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                     9

to specify what reasonable efforts she made, then she has not met her burden. See Corey-Lanuza

v. Medic Emergency Specialties, Inc., 229 F. Supp. 2d 92, 99 (D.P.R. 2002) (granting summary

judgment where plaintiff did not specify any reasonable efforts taken to identify the defendant

before filing interrogatories).

         Here, the evidence of due diligence between obtaining the medical records on August 22,

2014 and asking Dr. Refai to review those records in November 2015 is nonexistent. Plaintiffs

waited until Melendez’s final post-operative treatment to ask Dr. Refai to review the records,

which still were not translated from Spanish, and then waited an additional eleven months for Dr.

Refai’s report before filing suit. Dkt. 187 at 9, 12–13. Plaintiffs delayed more than a year before

asking Dr. Refai to review those records, and, when they asked, they still had not translated the

records to English for a neurosurgeon they knew did not speak Spanish. Plaintiffs argue that it was

reasonable to never ask Dr. Refai what he thought had happened, to never inquire into that marked

difference merely because Melendez remained on the road to recovery. This is not the law.

         “Once plaintiff had knowledge of the damage he could not wait for his injury to reach its

final degree of development and postpone the running of the period of limitation according to his

subjective appraisal and judgment.” Ortiz, 113 D.P.R. at 487, 13 P.R. Offic. Trans. at 622. Plaintiffs

contend that they did not yet know the source of the damage, but they surely knew of its existence.

Melendez’s conditions after her second and third surgeries, for example, were radically different.

After the second surgery, her pain increased to the point that she felt like she had hit “rock bottom,”

but she “slept like a baby” and improved rapidly after her third surgery in December 2014. Dkt.

183-3 at 15:9–10, 26:17. After both the first and second surgeries, Melendez continued to scream

from the pain in her back; after the third, she called Dr. Refai an “angel.” The Puerto Rico Supreme

Court makes clear that a plaintiff may not delay once he has become aware of an injury, “‘even if

at the time its full scope and extent cannot be weighed.’” Delgado Rodríguez, 121 D.P.R. 347

(quoting B. M. Brau del Toro, Los daños v perjuicios extracontractuales en Puerto Rico, 638-640,

Pubs. J.T.S. (2d ed. 1986)). “The aggrieved person need not know at that time the full extent of the

harmful consequences of the bodily injuries; that can be established later in the course of the legal
         Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 10 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                   10

proceedings held for the purpose of seeking redress.” Vera Morales v. Bravo Colón, 161 D.P.R.

308, 318–19, 2004 T.S.P.R. 30 (P.R. 2004)).

         Plaintiffs contend they were justified in waiting for Melendez to completely recover before

consulting Dr. Refai in spite of the holding in Delgado Rodríguez. Plaintiffs explain that they

focused on her treatment and rehabilitation and claim they “could not reasonably be expected to

do anything more to find out whether Dr. Rosado had complied with the standard of care, such that

they could responsibly assert their cause of action.” Dkt. 187 at 9. In Villarini-García, the First

Circuit found that the plaintiff exercised due diligence during the long delay between the injury

and the lawsuit because she regularly saw doctors and specialists for the injury done, which had

occurred when a doctor exceeded the scope of the surgery. See id. at 83–84. The plaintiff in Espada,

like Melendez, suffered an injury that was a potential side effect of surgery. Espada, 312 F.3d at 5.

Pain can certainly be a side effect of surgery, but Melendez experienced a deterioration in her

condition that had her screaming in agony until Dr. Refai’s treatment and which resulted in their

lack of trust in Dr. Rosado. After Dr. Refai’s surgery, in sharp contrast, she could sleep easily and

could walk three-quarters of a mile after just six weeks. See Dkt. 183-3 at 26:17 (Melendez trial

transcript); Dkt. 178 at 11:15–18 (Dr. Refai trial transcript).

         A reasonable person, in this situation, might not know she had a legal injury, but she would

question the first surgeries and seek answers. She would take some level of action. That is how the

plaintiff in Espada behaved; even after her doctor assured her that the swelling “was nothing,” she

“continued her investigation and discovered that the swelling in her arm was lymphedema.”

Espada, 312 F.3d at 4. Plaintiff then communicated with the National Lymphedema Network and

met with doctors to discover the cause of her lymphedema. Id. at 5. Melendez, Ramos, and their

family did not translate the medical records, they did not speak to the neurosurgeon they trusted to

perform a third operation, and they did not explain this inaction. Plaintiffs, rather than arguing the

facts that would support an exercise of due diligence, concede by omission to not taking any action

until Dr. Refai discharged Melendez.
         Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 11 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                   11

         This delay is the type the Puerto Rico Supreme Court explicitly forbade in Delgado

Rodríguez and again in Vera Morales. A claim does not wait to accrue until the full scope of an

injury becomes clear or treatment ends; plaintiffs must take “reasonable active efforts” to seek

answers. Estate of Ayala, 263 F. Supp. 2d at 317. Plaintiffs did nothing between August 22, 2014

and November 2015. The failure to even translate the medical records during that period caused

further delay such that Dr. Refai did not complete his report until September 21, 2016, more than

two-and-a-half years after Dr. Rosado’s surgeries. Where a plaintiff either does not act or does not

specify what actions she took for the finder or fact, she has not met her burden to prove due

diligence. Corey-Lanuza, 229 F. Supp. 2d at 99.

         Accordingly, as a matter of law, Plaintiffs’ medical malpractice claim against Dr. Rosado

was barred by the statute of limitations. The parties put the question to the jury because “the issues

of due diligence and adequate knowledge are still ones for the jury so long as the outcome is within

the range where reasonable men and women can differ.” Villarini-Garcia, 8 F.3d at 87. Reasonable

men and women cannot differ on the statute of limitations inquiry here because Plaintiffs did not

meet their burden to prove due diligence. The evidence in this case, even viewed in the light most

favorable to the jury’s verdict and determination of the facts, does not support a finding of due

diligence on behalf of Melendez or Ramos in the more than fourteen months between when they

secured Melendez’s medical records and when they asked Dr. Refai to review those records. See

Ciolino, 861 F.3d at 299.

                                                   CONCLUSION

         The court finds that Dr. Rosado has met his burden in showing that the evidence in the

record, taken in the light most favorable to Melendez and Ramos, can lead a reasonable person

only to the conclusion that Dr. Rosado is entitled to judgment. Defendants’ motion for judgment

as a matter of law is GRANTED.
         Case 3:16-cv-02853-BJM Document 191 Filed 08/20/19 Page 12 of 12


Melendez-Colon, et al. v. Rosado Sanchez, et al., Civil No. 16-2853 (BJM)                 12

         IT IS SO ORDERED.

         In San Juan, Puerto Rico, this 20th day of August, 2019.


                                                         S/Bruce J. McGiverin
                                                         BRUCE J. MCGIVERIN
                                                         United States Magistrate Judge
